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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

UNITED STATES OF AMERICA
v. Criminal No. 3:19cr130
OKELLO T. CHATRIE,
Defendant.
MEMORANDUM ORDER

This matter comes before the Court on Google LLC’s (“Google”) Motion for Leave to
File Supplemental Declaration of Marlo McGriff (the “Motion”). (ECF No. 110.) Google
represents that the United States consents to the relief requested in the Motion. Defendant
Okello T. Chatrie filed an objection to the Motion (the “Objection”). (ECF No. 111.)

In the Motion, Google requests leave to file a supplemental declaration to “address[] one
factual assertion regarding the steps a user must take to activate Location History in [his or] her
Google account settings.” (Mot. 1, ECF No. 110.) Google states that “[t]his assertion was first
made during the January 21, 2020 testimony of Spencer MclInvaille . . . then was repeated in
... Chatrie’s supplemental memorandum in support of his Motion to Suppress Evidence
Obtained from a ‘Geofence’ General Warrant.” (/d.) Google states that Mr. McInvaille’s
testimony regarding how a user may enable Location History is inaccurate and seeks leave to file
the supplemental declaration “to ensure that the record before the Court is accurate.” (/d. 2.)

Google states that the Motion will not prejudice the United States and Chatrie because it
“addresses one narrow and discrete point of fact relevant to the pending motion” and “does not
undermine or qualify any of the facts to which Mr. McGriff attested in the First Declaration, nor
the [P]arties’ stipulation to that declaration’s accuracy.” (/d.) Google asserts that timing of the
Motion, approximately two weeks before the scheduled hearing on Chatrie’s Geofence Motion to

Suppress, does not prejudice the United States and Chatrie because “[t]he sole factual issue
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addressed by the [s]upplemental [d]eclaration—that tapping on ‘Yes, I’m in’ alone will not
enable Location History—was not within the scope of [Chatrie’s] Rule 17 subpoena.” (/d.)
Google asserts that this represents the reason that Mr. McGriff’s “First Declaration did not
include the level of detail regarding the opt-in process reflected in the Supplemental
Declaration.” (/d.) Because Chatrie’s “supplemental memorandum subsequently placed
considerable weight on Mr. MclInvaille’s assertion regarding this point ... Google...
determined that it [was] necessary to file the [s]Jupplemental [d]eclaration to ensure an accurate
record.” (/d.) Google attaches the proposed supplemental declaration to the Motion. (See ECF
No. 110-1.)

In the Objection, Chatrie asks that the Court “strike the proposed evidence from the
record for purposes of deciding the geofence suppression motion.” (Objection 1, ECF No. 111.)
Chatrie asserts that the “proposed supplemental declaration purports to provide the Court with
evidence that directly conflicts with evidence that the defense has uncovered in its own work in
activating a phone very similar to the one that the government alleges . . . Chatrie was using at
the time of the robbery.” (/d.) Chatrie maintains that he “has not been able to recreate, despite
several attempts, the information that Google has proffered in its supplemental declaration.”

(Id. 2.) For this reason, Chatrie states that the defense cannot “effectively rebut” the information
contained in the supplemental declaration. (/d.)

Chatrie maintains that the Motion prejudices the United States and Chatrie because “just
two weeks shy of an evidentiary hearing that has been planned for months” Google “has inserted
purported ‘evidence’ that directly conflicts with facts and testimony provided by the defense.”
(Id.) Chatrie states that “Google has been aware of this evidence since at least” January 30,

2020. (Id)
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Chatrie requests that if the Court grants the Motion, it should “consider and endorse a
defense subpoena to Google regarding the specifics of Google’s Location History opt-in policies
and procedures, including contextual information about the development thereof and any
relevant changes in subsequent versions or updates.” (/d. 3.) Chatrie states that if the Court
grants the Motion, he “would seek to compel the in-person testimony of relevant Google
representatives, including Mr. McGriff.” (/d.) These requests would require a continuance of
the July 2, 2020 hearing. (/d.) Chatrie states that the United States “do[es] not oppose” the relief
he requests. (/d.)

A district court has discretion to manage the proceedings before it, including
“management of [its] dockets, the courtroom procedures, and the admission of evidence.”
United States v. Janati, 374 F.3d 263, 273 (4th Cir. 2004). It appears that a dispute of material
fact exists, which may affect the Court’s understanding of the technology at issue. Because this
dispute may affect the Court’s ruling on Chatrie’s Geofence Motion to Suppress, the Court will
grant the Motion so that it can consider the substantial issues of first impression presented in the
Geofence Motion to Suppress on an accurate record. Should Chatrie so choose, the Court will
consider a request for an additional Rule 17 subpoena to be submitted to Google. The Court will
also consider any briefing seeking to compel Google’s appearance for live testimony during the
upcoming evidentiary hearing on the Geofence Motion to Suppress. The Court will, and must,
weigh all Parties’ relevant evidence and position to ensure that it has the most accurate record
before it.

However, in granting the Motion, the Court pauses to note that Chatrie’s contention that
Google knew about this dispute for several months and waited until the eve of the evidentiary

hearing to raise it, is well-taken. The record reflects that Counsel for Google has been receiving
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electronic notifications when a party files a document in this case, and Google’s dilatory action
was avoidable, meaning that the July 2, 2020 hearing likely could have continued as scheduled.

Because Chatrie requires additional information to properly consider the information
contained in the supplemental declaration, and such information will aid the Court in deciding
the Geofence Motion to Suppress, the Court will continue the hearing on Chatrie’s Geofence
Motion to Suppress, The Court will order the Parties to file a status report to address when they
believe they will have access to the necessary information, so that the Court can reschedule the
hearing.

The Court will also require the Parties to file proposed witnesses and exhibit lists
identifying all witnesses they expect to call and exhibits they expect to introduce at the upcoming
hearing by the previously established June 25, 2020 deadline so that the Court can be prepared to
reschedule the hearing for the earliest possible date. The Parties must update these lists based on
any new evidence as soon as possible, but no later than two-weeks before the newly scheduled
hearing.

Because the Geofence Motion to Suppress presents substantial issues of first impression
that require the Court to consider a full and accurate record concerning the technology at issue,
the Court concludes that the ends of justice are best served by granting a short continuance of the
hearing on the Geofence Motion to Suppress and that this outweighs the best interest of the
public and the defendant in a speedy trial. See 18 U.S.C. §§ 3161(h)(7)(A); 3161(h)(7)(B)
(identifying as one of the factors which the Court must consider in granting a continuance as “the
existence of novel questions of fact or law, that it is unreasonable to expect adequate preparation
for pretrial proceedings . . . within the time limits established by this section”). Similarly,

because Chatrie filed the pending Motion to Suppress, including the Geofence Motion to
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Suppress, the time necessary to fully consider the pending Motions to Suppress is likely
excluded from the Speedy Trial calculation. See 18 U.S.C. § 3161(h)(1)(D).

For the foregoing reasons, the Court:

(1) | GRANTS the Motion, (ECF No. 110);

(2) CONTINUES GENERALLY the July 2, 2020 Hearing on Chatrie’s
Geofence Motion to Suppress;

(3) ORDERS that if Chatrie so chooses, he SHALL submit briefing on an
additional subpoena to be issued to Google no later than July 2, 2020.
Should the United States desire to file a response, it SHALL do so no later
than July 9, 2020. Should he desire to file a reply, Chatrie SHALL do so
no later than July 16, 2020;

(4) ORDERS Chatrie and the United States to provide a joint status update
addressing the date to reschedule the hearing on the Geofence Motion to
Suppress no later than 12:00 p.m. Eastern Standard Time on July 2,
2020;

(5) ORDERS Chatrie and the United States to file witness and exhibit lists
identifying each witness they expect to call and each exhibit they expect to
introduce at the hearing on the Geofence Motion to Suppress no later than
June 25, 2020; and,

(6) ORDERS Chatrie and the United States to provide any updates to the

proposed witness and exhibits lists as soon as possible, but in no event,
later than two weeks before the scheduled hearing.

It is SOQ ORDERED.

    

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Date: (po /[2H/2O20

Richmond, Virginia
